                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION

                                       NO. 4:18-CR-54-lFL


 UNITED STATES OF AMERICA                    )
                                             )
           V.                                )
                                             )                         ORDER
 TERRENCE DENON MILLER                       )



       This matter comes now before this Court on oral motion of the United States, by and

through the United States Attorney for the Eastern District of North Carolina, to allow the transfer

of custody of the exhibits described to Christopher Jenkins, Lenoir County Sheriff's Office.

       IT IS HEREBY ORDERED that the following exhibits admitted into evidence on8/l 9/20,

be transferred to Christopher Jenkins to be retained in his custody until this case is completed,

including any matters on appeal:

                Gov't. Exhibit No. :                         Description of the Evidence:

                1                                            Handgun magazine with bullets

                2                                            Clear bag of veggie material

                3                                            Clear bag of veggie material

                4                                            Grinder

                5                                            Silver digital scales

                6                                            Black digital scales

                7                                            Two black cell phones




                                                 1




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SO ORDERED this the _19thday of August, 2020.



                                  Louise W. Flanagan
                                  United States District Judge




                . Attorney




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